            IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
                   Plaintiff,         )
                                      )
     v.                               )   Criminal Action No.
                                      )   13-03041-01/02-CR-SJ-DGK
BRUCE CONANT and                      )
RENDY CONANT,                         )
                                      )
                   Defendants.        )
               SUPPLEMENTAL REPORT AND RECOMMENDATION

      On March 11, 2014, this case was recommitted to me for

further clarification.        Based on the following I continue to find

that defendants have failed to establish that the false

information was provided deliberately or with reckless disregard

for the truth.
I.    BACKGROUND

      On May 8, 2013, an indictment was returned charging both

defendants with conspiracy to distribute methamphetamine and

possession with intent to distribute methamphetamine.               The

indictment also charges defendant Bruce Conant with possessing a

firearm in furtherance of a drug trafficking crime and possessing

a firearm after having been convicted of a felony.

      On August 26, 2013, Rendy Conant filed a motion to suppress

(document number 39), a motion for a Franks hearing (document
number 40), and a motion for en camera inspection of the

Waynesville City Police files.        On September 5, 2013, Rendy
Conant filed Suggestions in Support of her motion for a Franks

hearing (document number 48) and Suggestions in Support of her

motion to suppress (document number 49).           On that same day Bruce



     Case 6:13-cr-03041-DGK     Document 85   Filed 03/20/14   Page 1 of 24
Conant filed a motion to suppress evidence seized from his

residence (document number 47) and a motion to suppress evidence

seized from his storage unit (document number 46).             On September

10, 2014, Rendy Conant filed an amended motion to suppress

(document number 52) and an amended motion for Franks hearing

(document number 53).    On October 15, 2013, the government filed

a response to all of the preceding motions.           On October 29, 2013,

this case was transferred to me for processing.

     After the case was transferred to me, Rendy Conant filed a
motion for an order directing the government to produce the

“totality of the information” supplied to Judge Storie for the

issuance of the search warrant for defendants’ home (document

number 61).   On November 11, 2013, Bruce Conant filed a motion to

join in the motions for Franks hearing which had been filed by
Rendy Conant (document number 62).         On November 13, 2013, Bruce

Conant filed a reply to the government’s response to Bruce

Conant’s motions to suppress (document number 63).             On November

18, 2013, Rendy Conant filed a reply (document number 65).               On

November 22, 2013, a hearing was set for January 28 and 29,
2014.1

     On January 14, 2014, Rendy Conant filed a motion for an

order requiring the government to reveal the identity and address



     1
      Because the hearing was to be held in Springfield where
courtrooms are shared by judges coming in from Kansas City, the
hearing on the motions to suppress evidence was set prior to my
consideration of the Franks issue which was not mentioned in the
order setting suppression hearing (document number 67).

                                   2


    Case 6:13-cr-03041-DGK   Document 85     Filed 03/20/14   Page 2 of 24
of confidential informant (“CI”) 2011-12-2 (document number 68).

By January 21, 2014, the government had not filed response to the

motion for identity of the CI and I entered an order directing

that one be filed by January 23, 2014 (document number 70).                  On

January 23, 2014, the government filed a response objecting to

disclosure of the CI (document number 71).

     On January 25, 2014, I entered an order granting Bruce

Conant’s motion to join in Rendy Conant’s Franks motions (62),

denying the motion for “totality of information” (61) since the
production of discovery was already covered in the Scheduling

Order entered on May 28, 2013, by Judge England; and denying the

motion for disclosure of informant’s identity (62) based on the

government’s privilege (document number 72).           On January 25,

2014, I entered an order denying Rendy Conant’s motion for Franks
hearing (40); denying Rendy Conant’s motion for en camera

inspection (41); and denying the amended motion for Franks

hearing (53) (document number 73).         I found that defendants had

failed to satisfy their burden of showing an intentional or

reckless (a) inclusion of false information or (b) omission of
information material to the determination of probable cause.

          An evidentiary hearing is not warranted unless the
     defendant makes a strong initial showing of “deliberate
     falsehood or of reckless disregard for the truth.” Franks
     v. Delaware, 438 U.S. at 171; United States v. Freeman, 625
     F.3d 1049, 1052 (8th Cir. 2010).

(document number 73, p. 6).     Because defendants did not offer any

proof that the alleged omissions about the CI were deliberate or

reckless other than to state that the officer was experienced, I


                                   3


    Case 6:13-cr-03041-DGK   Document 85     Filed 03/20/14   Page 3 of 24
found that this essential prong of the Franks analysis which

would entitle defendants to a hearing had not been met.

       An evidentiary hearing on the motions to suppress was held

on January 28, 2014.       The following day, Rendy Conant filed a

motion to supplement the motion for Franks hearing with the

transcript of the January 28, 2014, hearing (document number 75).

A transcript of the suppression hearing was filed on January 30,

2014 (document number 76).

       On February 10, 2014, I filed a Report and Recommendation
(“R&R”)to deny Bruce Conant’s motions to suppress (46) (47)

(document number 77) and a Report and Recommendation to deny

Rendy Conant’s motions to suppress (39) (52) (document number

78).    In those R&Rs, I found that “[t]he issue of probable cause

need not be addressed because I find that the good-faith

exception to the exclusionary rule applies here.”              When

discussing the exceptions to the good-faith exception, I found

that “[t]he first exception was already addressed in the separate

motion for a Franks hearing and will not be repeated here.”                   That

exception is “when the affidavit or testimony supporting the
warrant contained a false statement made knowingly and

intentionally or with reckless disregard for its truth, thus

misleading the issuing judge.”

       On February 24, 2014, Bruce Conant filed objections to the

R&R (77) (document number 80) and Rendy Conant filed objections

to the R&R (78) (document number 81).          On February 24, 2012,

Rendy Conant filed supplemental objections to the R&R (78)


                                      4


       Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 4 of 24
(document number 82).       Finally, on March 3, 2014, I entered a

one-paragraph order denying Rendy Conant’s motion to supplement

the motion for Franks hearing with a transcript (75) in part

because defendant had still not satisfied her burden of showing

the police acted intentionally or recklessly (document number

83).

       On March 11, 2014, Judge Kays entered an order recommitting

the case to me for further clarification of two issues (document

number 84).
            As a threshold matter, the Court notes that this case’s
       unique procedural posture strongly influences the Court’s
       decision to request clarification. Although neither the
       defendants nor the Magistrate Judge were aware of the
       alleged omissions or false statements prior to the
       evidentiary hearing, the legal arguments now advanced in
       many of Defendants’ objections should have been raised
       before the Magistrate Judge. Following the evidentiary
       hearing, Defendants could have requested leave to file
       further briefing in light of Officer Weir’s testimony, but
       they failed to do so. Because of Defendants’ failure to
       brief these issues, the Magistrate Judge was in the
       unenviable position of having to assimilate Defendants’
       prior suppression arguments to the newly learned facts from
       the hearing. With that in mind, the Court addresses two of
       Defendants’ objections which are relevant for the current
       discussion.

            First, Defendants assert that even though the
       Magistrate Judge considered Officer Weir’s testimony in the
       majority of his analysis, he did not apply the testimony
       when analyzing the applicability of an exception to the Leon
       “good faith” rule. Specifically, Defendants contend that
       the Magistrate Judge failed to consider whether, in light of
       Officer Weir’s testimony, “the affidavit or testimony
       supporting the warrant contained a false statement made
       knowingly and intentionally or with reckless disregard for
       its truth, thus misleading the issuing judge.” See United
       States v. Cannon, 703 F.3d 407, 412 (8th Cir. 2013)
       (internal quotation marks and citations omitted) (noting
       that this is one exception to the good faith rule in Leon).




                                      5


       Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 5 of 24
     In his thorough and well-reasoned opinion, the
Magistrate Judge addressed whether the Leon “good faith”
rule should prevent suppression of the evidence seized from
Defendants’ residence. As a part of his analysis, the
Magistrate Judge discussed four exceptions to the “good
faith” rule. See Docs. 78 at 17-23, 77 at 17-23. The
analysis on three of the exceptions clearly discusses the
new evidence raised during the evidentiary hearing, but the
analysis of the first exception cross-references a prior
order denying a Franks Hearing (Doc. 73 at 10-14). Because
the Franks Hearing order occurred prior to the evidentiary
hearing, the order did not discuss the new facts about the
potential omissions and/or alleged false statements. Given
the unique procedural posture of the case, the lack of
adversarial briefing at this stage, and the fact that the
Magistrate Judge is well-acquainted with facts of the case
and the credibility of the witnesses, the Court requests a
supplemental recommendation on applicability of the first
exception in light of Officer Weir’s testimony. Although
this new information may or may not alter the analysis,
further clarification from the Magistrate Judge will assist
the Court in completing its review.

     Second, Defendants argue that under the Eighth
Circuit’s opinion in United States v. Reinholz, 245 F.3d 765
(8th Cir. 2001), the search warrant for Defendants’
residence is invalid. Defendants contend that Officer
Weir’s testimony reveals that he included false statements
in his affidavit and omitted other relevant facts.
Defendants assert that once the Court excludes the false
statements and includes the relevant omitted facts as
required under Reinholz, the remaining content of the
affidavit is insufficient to supply probable cause.

     Because the Reinholz remedy is essentially premised on
a Franks’ violation, Defendants are actually objecting to
the Magistrate Judge’s order on that issue (Doc. 73) rather
than his report on the suppression issues (Docs. 77 & 78).
As mentioned previously, the initial Franks order predated
the suppression hearing wherein Officer Weir disclosed that
CI did not have personal knowledge of the facts attested to
in the affidavit. This new information suggests that
Officer Weir may have omitted material information or
potentially made false statements in the affidavit. Since
the Franks’ issue was briefed and decided before learning
this information, the Court requests a supplemental
recommendation from the Magistrate Judge analyzing
Defendants’ Reinholz and Franks arguments in light of the
new evidence. Given the Magistrate Judge’s recent order
(Doc. 83), the Court doubts whether the new information will
ultimately change the analysis on this issue. That said,


                               6


Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 6 of 24
      the Court would like a supplemental explanation on this
      issue prior to completing its review.
II.   LEON GOOD-FAITH EXCEPTION TO EXCLUSIONARY RULE

      To begin, I will set forth the body of the affidavit in

support of the search warrant for defendants’ residence:

      On 7/15/12 CI 2011-12-2 who has proven reliable in the past
      on six separate occasions, gave me information that
      Methamphetamine is being distributed from and stored at this
      location. CI 2011-12-2 told me that James Rhodenizer who
      lives at 723 East Main Street in Richland, purchases
      quantities of Crystal Methamphetamine from Bruce and Rendy
      Conant who reside and own the property at this address and
      is in Pulaski County, MO. It is further stored in a storage
      unit located off the 140 mile marker of I-44 in Laclede
      County. A search warrant was executed in Pulaski County and
      in the city of Richland on 6/23/12 and the CI advised me
      that the crystal methamphetamine found in Mr. Rhodenizer's
      possession was purchased from Bruce and Rendy Conant by
      James Rhodenizer. CI 2011-12-2 stated that there is enough
      on hand for sales; however the bulk is stored at the storage
      shed in Laclede County. CI 2011-12-2 further stated that on
      or about 07/12/12 the Conant’s [sic] brought a new supply of
      methamphetamine to the area.

      The focus of the defendants’ motions is on the fact that the

“information” provided by the CI appears by this affidavit to be

based on first-hand knowledge but in reality it was not.               The

reliability of that information is a second issue stemming from

the first; however, the primary concern at least in my mind is

the fact that this affidavit states that the informant provided

“information,” not merely his or her “belief” of certain facts

which led to the issuance of the search warrant.

      It is undisputed that nothing was provided to Judge Storie

outside this affidavit and therefore the basis of any of the

material in the affidavit was not explained.           When a word is not

defined by statute, the court normally construes it in accord


                                     7


      Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 7 of 24
with its ordinary or natural meaning.       Smith v. United States,

508 U.S. 223, 228 (1993).     The American Heritage Dictionary

defines “information” as “knowledge of facts learned” or

“communication of knowledge”.     The Merriam-Webster Collegiate

Dictionary defines “information” as “knowledge that you get about

someone or something:    facts or details about a subject.”           The

ordinary meaning of “information” is not the same as a belief,

which is defined by Merriam-Webster Collegiate Dictionary as “a

feeling of being sure that . . . something is true.”           “Belief” is
defined by the American Heritage Dictionary as “mental acceptance

of and conviction in the truth, actuality, or validity of

something”.   It is undisputed that the affidavit provided to

Judge Storie states that the CI provided “information” not that

the CI had a feeling that certain facts were true.

     When the defendants’ motion for Franks hearing was ruled,
only the motions, response and replies were before the court.               In

the government’s response, the following was stated:

     A confidential source (CI 2011-12-2) provided information to
     Officer Victor Weir that James Rhodenizer who resided at
     7234 East Main Street, Richland, Missouri, was distributing
     methamphetamine. . . . Subsequent to this search on July
     15, 2012, CI 2011-12-2 gave additional information to
     Officer Weir regarding the defendants. CI 2011-12-2
     disclosed to officer Weir that Mr. Rhodenizer purchased
     methamphetamine from the defendants. CI 2011-12-2 further
     stated that the methamphetamine found on June 28, 2012, at
     Mr. Rhodenizer’s residence was purchased from the
     defendants. CI 2011-12-2 told Officer Weir that the
     defendants stored methamphetamine not only in their home but
     also in a storage unit located off of the 140 mile marker of
     I-44 in Laclede County. CI 2011-12-2 also stated that the
     defendants had brought in a new supply of methamphetamine on
     July 12, 2012.



                                   8


    Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 8 of 24
                                * * * * *

     . . . There is no evidence to indicate that the CI-2011-12-
     2 was unreliable.

                                * * * * *

     In United States v. Clay, the Eighth Circuit enumerated
     three relevant factors which may support an executing
     officer’s objective reasonableness. . . . [D]id the
     executing officer interview or question the informant in
     person. The officer interviewing the informant in person is
     a circumstance that further supports the officer’s good-
     faith reliance on the warrant because the officer has a
     greater opportunity to assess the informant’s credibility. .
     . . “There is an inherent indici[um] of reliability in the
     richness and detail of a first-hand observation,” that is
     not available to the reviewing judge. Kattaria, 553 F.3d at
     1178.

                                * * * * *

     . . . Officer Weir did personally interview CS 2011-12-2.
     Officer Weir states in his affidavit that CI 2011-12-2 gave
     “me” information.

(see government’s response, document number 55).

     With this background, I can say that I was surprised to

hear, during the suppression hearing, the testimony of Officer

Weir with regard to the source of the information provided by CI

2011-12-2.

Q.   Now, you went through your experiences when dealing with
     informants when you were being questioned by Ms. Miller.
     Let me ask you this: When you use unnamed confidential
     informants, do you disclose in the information to the judge
     whether -- when those people have personal knowledge of what
     they’re telling you and you know they have personal
     knowledge?

A.   Not sure I understand.

Q.   Knowledge that does not come from someone else.

A.   Are you asking if the information I provide is what the
     informant tells me?



                                    9


     Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 9 of 24
Q.   What I’m asking you is, do you determine whether or not the
     information that unnamed informants give you is information
     that they themselves know from having been somewhere and
     seen something as opposed to having heard it from a third
     party?

A.   Yes.

Q.   Okay. And when you make those -- that determination, you
     put that in your affidavit; is that correct?

A.   No.

(Tr. at 28-29).

Q.   You had no information to place in the affidavit that the
     statements given to you with reference to this first
     affidavit were, in fact, something seen, heard or within the
     first personal knowledge of the CI, did you?

A.   I think I understand the question.         I think it’s going to be
     no.

(Tr. at 31).

Q.   Okay. So there’s nothing -- so we’ll be clear, there’s
     nothing within the affidavit that the judge got that told
     him where it was that the confidential informant got
     whatever it was he was telling you?

A.   No.

THE COURT: Wait a minute. You said no. Does that mean you’re
     agreeing with what Mr. Cooley is saying here or disagreeing
     with it?

THE WITNESS:    I’m not sure I understand the question.

THE COURT: His question was there’s nothing in your affidavit
     for the first warrant that was executed on the residence to
     reflect that the CI who gave you that information had
     personal direct knowledge of it. By that I mean he saw it,
     he tasted it, he smelled it, he felt it or some personal
     experience that he had. And your response to that was that
     he didn’t have any and you didn’t include it in your
     affidavit, as I understand what you said.

Q.   (By Mr. Cooley) Is that correct?

A.   That’s correct.



                                    10


     Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 10 of 24
Q.   Okay. Well, did you have knowledge of the reliability of
     his source of information?

A.   Yes.

Q.   Did you present that to the judge?

A.   No.

(Tr. at 32).

Q.   Okay. So with reference to -- you have in here -- in this
     affidavit you say that this CI -- the same CI that didn’t
     have personal knowledge of this other -- told you that
     Rhodenizer lives in Richland and purchases quantities of
     crystal methamphetamine from Bruce and Rendy Conant. You
     didn’t have anything in your affidavit that he knew this of
     personal knowledge either, did you?

A.   No. I didn’t have anything in there that said personal
     knowledge, no.

Q.   Okay. Did you have anything in here that attested to the
     reliability of the source of the information that the
     confidential informant would have been relying upon to give
     you that statement?

A.   No.

Q.   Okay. But the judge was not made aware of the fact that it
     was anything other than impliedly the personal knowledge of
     the confidential informant, was he?

A.   Implied personal knowledge?

Q.   Yeah. You certainly didn’t tell the judge that -- that the
     -- there was a source other than -- that the confidential
     informant was getting it from?
A.   No, I didn’t.

Q.   Okay. So the judge would have had no way to assess the
     reliability of the source of information the confidential
     informant was stating, would he?

A.   No.

(Tr. at 37-38).

Q.   Okay. Then the next part of this affidavit for this home
     was that -- that you had executed a search warrant in


                                    11


     Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 11 of 24
     Pulaski County on 6/28/12. And that would have been the
     Rhodenizer search, would that be right?

A.   Yes.

Q.   And that you had -- and a CI advised you that stuff that was
     in that home was purchased from Bruce and Rendy Conant by
     Mr. Rhodenizer? You put that in this affidavit; is that
     correct?

A.   Yes.

Q.   Once again, though, not being within the personal knowledge
     of the CI, you didn’t put in there anything about the
     reliability of the source the CI would have gotten that
     information from, did you?

A.   In the document, no.

Q.   Okay. The prosecutor knew that and he still told you to go
     ahead and sign it this way?

A.   Yes.

(Tr. at 39).

Q.   Then on the last thing you used in here you said that the CI
     further stated that on or about July 12, 2012, Conants
     brought a supply of methamphetamine to the area. Once
     again, you don’t place personal knowledge within the
     informant himself or herself, do you?

A.   No, I don’t.

Q.   But you don’t suggest to the Court that it is not their
     personal knowledge, nor do you put in the affidavit anything
     relating to the reliability of the source that the informant
     relied upon, do you?
A.   No.

(Tr. at 39-40).

Q.   Did you ask the informant 2011-12-2 whether or not she’d
     seen or he had seen -- whatever it’s a he or she --
     personally any of the transactions or how that knowledge was
     derived?

A.   Yes.

Q.   And they had -- and what did she say or he say?


                                    12


     Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 12 of 24
A.   What I was told by the informant was that some of the
     product was brought back and that it was all -- it was --
     how to word it -- the informant had used the product with
     the other source and that it had come from the Conants.

Q.   But I’m talking about the information in the search warrant
     itself. You didn’t put that in the affidavit?

A.   No.

(Tr. at 44-45).

q.   And it says that this person gave you information that
     methamphetamine is being distributed from and stored at this
     location, correct?

A.   Yes.
Q.   Okay. Did they tell you how they got that information; that
     they had seen it at the Conants’ house, they’d seen anything
     like that? Did they tell you that?

A.   Yes, the informant did tell me how they came by the
     knowledge.

Q.   That they had seen it there?

A.   No.

Q.   How did they tell you they derived the knowledge?

A.   From another party that had seen it there.

Q.   So we’re talking about secondhand information that they had
     told -- somebody had told them and they told you -- is that
     correct?

A.   Yes.
(Tr. at 45-46).

     The question is not whether the affidavit is misleading --

because in my opinion there is little doubt that it is.

Considering the ordinary meaning of the word “information” as it

is used in the affidavit, one would read the affidavit and assume




                                    13


     Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 13 of 24
that CI 2011-12-2 had first-hand knowledge of the material he2

relayed to Officer Weir.     Otherwise, what would be the point of

discussing the CI’s past reliability?       Furthermore, I cannot

imagine that an issuing judge would not ask from where the

information came if he had any inkling that it came from someone

not mentioned in the affidavit.

     In United States v. Chambers, 987 F.2d 1331, 1334-1335 (8th

Cir. 1993), the court rejected a defendant’s argument that the

issuing judge was misled by information in an affidavit that did
not disclose that the informant and a probationer who had been

arrested was the same person:

          Regarding the exceptions to the Leon good-faith
     exception, Chambers first argues that Detective Wessler
     deliberately and/or recklessly misled Judge Baker into
     issuing the search warrant. Specifically, Chambers contends
     that Detective Wessler deliberately attempted to conceal the
     fact that the probationer (the person in the car who was
     stopped by the police on November 17, 1988, and who had lied
     to the police about his true identity) was the same person
     as the informant (the person who talked to Detective Wessler
     on November 17, 1988, at the police station and provided the
     basis for the search warrant application). Furthermore,
     Chambers states that Detective Wessler omitted from the
     search warrant application the facts that he had no
     knowledge of the informant’s character for truthfulness,
     that he made no attempt to verify the truth of the
     informant’s statements, and that the police did not find any
     drugs or firearms on the informant when they stopped the car
     on November 17, 1988.

          The district court found that although the affidavit
     failed to state a clear connection between the probationer
     and the informant this inference could be reasonably drawn.
     Our review of the affidavit convinces us that this finding
     is not clearly erroneous. Additionally, the affidavit
     provides adequate information regarding the questionable


     2
      It is my usual practice to refer to confidential informants
as “he” for ease of reading.

                                   14


    Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 14 of 24
        background of the informant. For example, Detective Wessler
        specifically stated that the probationer had lied about his
        true identity and that he was wanted on numerous warrants.
        Chambers also admits that Judge Baker questioned Detective
        Wessler about the informant and that Detective Wessler told
        Judge Baker that he had no prior dealings with the
        informant. Based on our reading of the affidavit, we hold
        that the district court’s finding that Detective Wessler did
        not deliberately and/or recklessly mislead the issuing judge
        is not clearly erroneous.

        The facts in Chambers are distinguishable from the facts in

this case.     In Chambers the judge was actually informed of the

information omitted from the affidavit.          Such is not the case

here.     Judge Storie did not know that CI 2011-12-2 had no first-

hand knowledge of the information he reported to Officer Weir, he

had no knowledge of the fact that this CI had hopes of favorable

treatment in a criminal case in exchange for information, and he

had no knowledge of the fact that the CI obtained this

information while using drugs with the informant who actually had

first-hand knowledge of the information that eventually landed in

the affidavit (Tr. at 45).       I have little doubt that the

affidavit was misleading to Judge Storie -- it certainly was to

me.

        However, the analysis of whether the exclusionary rule
applies in this case goes deeper.         The Supreme Court opinion

which created the good-faith exception to the exclusionary rule

points out the purpose of the exclusionary rule:              It “operates as

‘a judicially created remedy designed to safeguard Fourth

Amendment rights generally through its deterrent effect, rather

than a personal constitutional right of the party aggrieved.’”



                                     15


      Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 15 of 24
United States v. Leon, 468 U.S. 897, 906 (1984).

     Because a search warrant “provides the detached scrutiny of

a neutral magistrate, which is a more reliable safeguard against

improper searches than the hurried judgment of a law enforcement

officer ‘engaged in the often competitive enterprise of ferreting

out crime,’” United States v. Leon, 468 U.S. at 913-914 (quoting

United States v. Chadwick, 433 U.S. 1, 9 (1977) (quoting Johnson

v. United States, 333 U.S. 10, 14 (1948))), the Supreme Court has

expressed a strong preference for warrants and declared that “in
a doubtful or marginal case a search under a warrant may be

sustainable where without one it would fall.”           United States v.
Leon, 468 U.S. at 914, citing United States v. Ventresca, 380

U.S. 102, 106 (1965).    “Reasonable minds frequently may differ on

the question whether a particular affidavit establishes probable

cause, and we have thus concluded that the preference for

warrants is most appropriately effectuated by according ‘great

deference’ to a magistrate’s determination.”           United States v.

Leon, 468 U.S. at 914.       Deference to the magistrate, however, is

not boundless.   “It is clear, first, that the deference accorded
to a magistrate’s finding of probable cause does not preclude

inquiry into the knowing or reckless falsity of the affidavit on

which that determination was based.”        Id. citing Franks v.

Delaware, 438 U.S. 154 (1978).

     In Franks v. Delaware, the Supreme Court was presented with

the question of whether a defendant may ever challenge the

veracity of a sworn statement used by police to procure a search


                                    16


    Case 6:13-cr-03041-DGK    Document 85   Filed 03/20/14   Page 16 of 24
warrant.   In rejecting Delaware’s position that a sworn statement

could never be challenged, the Supreme Court noted that “a flat

ban on impeachment of veracity could denude the probable-cause

requirement of all real meaning.        The requirement that a warrant

not issue ‘but upon probable cause, supported by Oath or

affirmation,’ would be reduced to a nullity if a police officer

was able to use deliberately falsified allegations to demonstrate

probable cause, and, having misled the magistrate, then was able

to remain confident that the ploy was worthwhile.”           Franks v.
Delaware, 438 U.S. at 168.

     The Supreme Court described the new procedure as follows:

     In sum, and to repeat with some embellishment what we stated
     at the beginning of this opinion: There is, of course, a
     presumption of validity with respect to the affidavit
     supporting the search warrant. To mandate an evidentiary
     hearing, the challenger’s attack must be more than
     conclusory and must be supported by more than a mere desire
     to cross-examine. There must be allegations of deliberate
     falsehood or of reckless disregard for the truth, and those
     allegations must be accompanied by an offer of proof. They
     should point out specifically the portion of the warrant
     affidavit that is claimed to be false; and they should be
     accompanied by a statement of supporting reasons.
     Affidavits or sworn or otherwise reliable statements of
     witnesses should be furnished, or their absence
     satisfactorily explained. Allegations of negligence or
     innocent mistake are insufficient. The deliberate falsity
     or reckless disregard whose impeachment is permitted today
     is only that of the affiant, not of any nongovernmental
     informant. Finally, if these requirements are met, and if,
     when material that is the subject of the alleged falsity or
     reckless disregard is set to one side, there remains
     sufficient content in the warrant affidavit to support a
     finding of probable cause, no hearing is required. On the
     other hand, if the remaining content is insufficient, the
     defendant is entitled, under the Fourth and Fourteenth
     Amendments, to his hearing. Whether he will prevail at that
     hearing is, of course, another issue.

Id. at 171-172.


                                   17


    Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 17 of 24
     Because in this case there was a motion for a Franks hearing

and a motion to suppress evidence, for which an evidentiary

hearing was necessary, the court is faced with a circular

analysis.     Defendants’ motion for a Franks hearing was denied

because they failed to establish a deliberate falsehood or of

reckless disregard for the truth.       However, because a hearing was

held on another matter, evidence of what could be considered a

deliberate falsehood or of reckless disregard for the truth is in

the record.    Therefore, the court looks to Leon to determine
whether a good-faith exception to the exclusionary rule applies

and is directed back to Franks.
     I have not been presented with a case where there appears to

be a reckless disregard for the truth but not solely by the

officer preparing the affidavit.        The troubling part of this case

is that the officer did not act on his own in keeping this

information from Judge Storie.      He testified that the prosecutor

who reviewed the affidavit knew that CI 2011-12-2 did not have

first-hand knowledge of the information.        The prosecutor knew

that CI 2011-12-2 was attempting to “work off” a criminal case.
Yet the prosecutor did not instruct Officer Weir to include any

of this information in the affidavit.        And Officer Weir did not

include any of this information, even though he realized this

would leave the judge with no basis to evaluate the credibility

of the informant.

     According to the undisputed evidence, Officer Weir obviously

relied on the advice of the prosecuting attorney.           However, the


                                   18


    Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 18 of 24
logic of this approach is astonishing to me.           If an officer could

swear out an affidavit which stated that a CI told the officer

that certain individuals had drugs in their house, and get a

search warrant on that basis, what would stop an officer from

being the very one to give this information to an informant who

would then give it right back to the officer as a basis for a

search warrant?    Such a procedure could be used by police to

obtain search warrants based on nothing but mere suspicion or,

worse, their own desire to harass someone about which the officer
has no credible incriminating information.

     Without any guidance from controlling case law, however, on

how the advice of a prosecutor3 who chooses to keep information
from a reviewing judge affects the Leon/Franks analysis, I turn

back to those Supreme Court opinions.         The Court in Franks stated

that, “Allegations of negligence or innocent mistake are

insufficient.     The deliberate falsity or reckless disregard whose

impeachment is permitted today is only that of the affiant, not

of any nongovernmental informant.”         Although the Court only

addressed the reckless disregard of the “affiant,” the fact that
the affiant was singled out is important.          And I note again that

the exclusionary rule is designed to deter police misconduct.

     With that in mind, and considering the following factors, I

continue to find that the defendants have failed to establish a


     3
      I note that the state prosecutor was not a witness in this
case and was not present to challenge the testimony of Officer
Weir in regard to the prosecutor’s role in all of this. However,
I am limited by the evidence that was presented before me.

                                   19


    Case 6:13-cr-03041-DGK   Document 85    Filed 03/20/14   Page 19 of 24
deliberate falsity or a reckless disregard for the truth and

instead have established that Officer Weir acted negligently.4

Officer Weir testified that he did not include information about

the informant who had first-hand information due to a potential

threat of danger to that informant (Tr. at 22-23), the prosecutor

knew that the information had come from another informant but did

not direct Officer Weir to include that in the affidavit5 (Tr. at

16-18), and Officer Weir actually talked to the informant who had

first-hand knowledge and this occurred a few days before the
warrant was executed at Rhodenizer’s home during which drugs were

seized from there (Tr. at 49-50).        When assessing the good faith

of Officer Weir, the court must look at the totality of the



     4
      Because this has been strongly pointed out, any subsequent
omission of the real source of information in an affidavit by the
players in this case would, at least by me, be looked upon as
evidence of deliberation.
     5

Q.   Did you tell the prosecuting attorney that when you had him
     go over -- when he went over this and signed this document?

A.   That there was an outside source?

Q.   Yeah.

A.   Yes.

Q.   And the prosecuting attorney went ahead and approved this
     and told you to present this to the judge in spite of the
     fact that the information, if it was firsthand even from the
     outside source, was somebody other than the confidential
     informant? He said just go ahead and file it that way; is
     that correct?

A.   Yes.

(Tr. at 38-39).

                                    20


     Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 20 of 24
circumstances including what Officer Weir knew but did not

include in his affidavit.     United States v. Chambers, 987 F.2d at

1335; United States v. Martin, 833 F.2d 752, 756 (8th Cir. 1987)

(citing Anderson v. Creighton, 483 U.S. 635, 641 (1987)).

     For these reasons, I continue to find that regardless of the

outcome of any probable cause analysis,6 the good-faith exception

to the exclusionary rule applies in this case.
III. REINHOLZ ANALYSIS

     In United States v. Reinholz, 245 F.3d 765 (8th Cir. 2001),

police had requested pharmacies to report when people purchased

iodine crystals, an ingredient used in the manufacture of

methamphetamine.     A pharmacist called police and reported that

Rehinholz had ordered iodine crystals allegedly for cleaning

tools.     The pharmacist, who initially asked to remain anonymous,

stated that he thought Reinholz was manufacturing, distributing,

and using methamphetamine because the pharmacist knew of no

legitimate use for iodine crystals.7       When police eventually

sought a search warrant for Reinholz’s home, they referred to the

statement by the pharmacist (whose identity by then was known) as
follows:     “[Y]our Affiant Officer received information from a


     6
      Reviewing courts can properly analyze the issue of the Leon
good-faith exception to the exclusionary rule before reviewing
the issue of probable cause. United States v. Leon, 468 U.S. at
925; United States v. Chambers, 987 F.2d at 1334.
     7
      Iodine crystals may also be used by farriers, farmers, and
veterinarians to treat infections in horses’ hooves, as an
ingredient for producing germicides, fungicides, antiseptic, as a
disinfectant, and in animal feeds. United States v. Reinholz,
245 F.3d at 770 n.2.

                                   21


    Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 21 of 24
confidential and reliable source that a party REINHOLZ, Eric B.,

is involved in the use of methamphetamine.”         The district court

granted the motion to suppress because the officer had recklessly

provided false information, i.e., that his source was “reliable,”

when in fact he had no information at all about whether the

source was reliable.    The district judge then removed that

section from the affidavit and found it lacking in probable

cause.   The court of appeals agreed.

     The district court did not err when it determined that
     Officer Podany recklessly misled the issuing judge by
     misrepresenting the nature of his source. Officer Podany’s
     claim to have received information from a “confidential and
     reliable” source recklessly misrepresented the nature of his
     source by implying that his informer had personal knowledge
     of Reinholz’s methamphetamine use and distribution. Officer
     Podany knew that the sole basis for the pharmacist’s opinion
     concerning Reinholz’s methamphetamine use was Reinholz’s
     purchase of iodine crystals. Officer Podany’s
     “confidential” characterization was misleading because the
     pharmacist dropped his request for anonymity by the time
     Officer Podany filed his affidavit. Officer Podany’s
     reliability claim was misleading because it implied that his
     source had knowledge of Reinholz’s drug activities and that
     independent police investigation corroborated the
     informant’s declarations. In fact, police investigation
     merely corroborated the pharmacist’s description of
     Reinholz’s automobile and license plate. Contrary to
     Officer Podany’s statement, the pharmacist was not a
     confidential source and his reliability was not related to
     any personal knowledge of or corroborated information
     concerning Reinholz’s methamphetamine use. Therefore, the
     district court did not err when it determined that Officer
     Podany recklessly misled the issuing judge by
     misrepresenting the nature of his source.

Id. at 774.
     The issue in Reinholz was, based on the facts as described

above, the proper probable cause analysis used, i.e., did the
court properly delete the paragraph referring to the pharmacist



                                   22


    Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 22 of 24
as a reliable source of information as to Reinholz’s drug use, or

should the court have supplemented the paragraph with the

explanatory information.       The court held that the correct

analysis was to delete the misleading information.

      We recognize that the exclusionary rule does not apply to
      negligent misrepresentations or omissions. In any case,
      retroactively supplementing the affidavit with material
      omissions bolstering probable cause would undermine the
      deterrent purpose of the exclusionary rule. Therefore, the
      district court did not err when it refused to supplement the
      affidavit with more precise information concerning the
      nature of Officer Podany’s source.

Id. at 775.
      The difference between Reinholz and this case is that there

is no evidence that Officer Podany acted on the advice of a

prosecuting attorney when he misrepresented the source of his

information regarding Reinholz’s drug use.           Here, as discussed at

length above, Officer Weir testified that his decision to omit

reference to the second confidential informant was based in part

on considerations of safety to an informant and he relied on the

direction of the prosecuting attorney in keeping that information

out of the affidavit.      Therefore, I find that the court’s

discussion in Reinholz regarding whether Officer Podany acted

deliberately or recklessly is not controlling in this case due to

that major difference.
IV.   CONCLUSION

      Based on all of the above, I find that defendants have

failed to establish that Officer Weir’s affidavit contained a

deliberate falsehood or that he acted in reckless disregard for



                                     23


      Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 23 of 24
the truth in failing to disclose that CI 2011-12-2 did not have

first-hand knowledge of the information provided, that he was

attempting to “work off” a criminal case, and that he heard this

information from another informant while the two used drugs

together.     Therefore, it is

     RECOMMENDED that the court, after making an independent

review of the record and the applicable law, enter an order

denying defendants’ motions to suppress evidence.

     Counsel are advised that each has 14 days from the date of
this report and recommendation to file and serve specific

objections.     Counsel are specifically invited to submit to the

court in their objections any case law discussing the effect of

an officer’s relying on the advice of a prosecutor in the

analysis of whether the omission or false information was

deliberately or recklessly provided.




                                        ROBERT E. LARSEN
                                        United States Magistrate Judge
Kansas City, Missouri
March 20, 2014




                                   24


    Case 6:13-cr-03041-DGK   Document 85   Filed 03/20/14   Page 24 of 24
